














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-03-369-CV



CORRECTIONAL SERVICES CORPORATION	APPELLANTS

AND KNYVETT REYES



V.



RICKEY ALEXANDER, INDIVIDUALLY	APPELLEES

AND AS INDEPENDENT ADMINISTRATOR

OF THE ESTATE OF BRYAN DALE ALEXANDER,

AND JUDY SCHUMPERT

----------

FROM THE 236
TH
 DISTRICT 
COURT OF TARRANT COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered the parties’ “Agreed Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(2), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same, for which let execution issue.

PER CURIAM

PANEL D:	MCCOY, LIVINGSTON, and DAUPHINOT, JJ.



DELIVERED: &nbsp;November 23, 2005

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




